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10
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11
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12                Petitioner,
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13             v.
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15                                               PETITIONER’S OPENING BRIEF
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                                                 ON CLAIM 27
16     California State Prison at San
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17                                               VOLUME 1
                           Respondent.
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 1      12.     PriceWaterhouseCoopers, Cost of Private Panel Attorney Representation
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        13.     California Department of Corrections. Condemned Inmates Who Have
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